                                    Case 1:16-cr-00021-LDH Document 21-2 Filed 05/06/16 Page 1 of 1 PageID #: 47

TO: Clerk's Office                                                                                          2D16MAY-6 PH f:os
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


       APPLICATION FOR LEAVE
     TO FILE DOCUMENT UNDER SEAL

                                                                                                                        A) If pursuant to a prior Court Order:
********************************                                                                                        Docket Number of Case in Which Entered:_ _ _ _ _ _ __
                                                                                                                        Judge/Magistrate Judge:_ _ _ _ _ _ _ _ _ _ _ __
UNITED STATES                                                                                                           Date Entered: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                             -v.-                                                    16-CR-21 (S-1) (LDH)
XAVIER ONEAL, ARTHUR SAM, and                                                        Docket Number
DANE PHILLIP
********************************
                                                                                                                        8) If a !!filY application, the statute, regulation, or other legal basis that
SUBMITIED BY: Plaintiff__ Defendant__ DOJ _.!!..__                                                                      authorizes filing under seal
Name: Nomi Berenson
Firm Name:U.S. Attorney's Office. EDNY                                                                                  ongoing criminal investigation
Address: 271 Cadman Plaza East
          Brooklyn, NY 1120 I
Phone Number:__7:. . ; 1. .; .8. . ; ;-2=5-'-4-.. . ; 6;.; ;. 3. ; . .08;; . . .__ _ _ _ _ _ __                         ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
E-Mail Address: nomi. berenson@usdoj.gov                                                                                AND MAY NOT BE UN ALEO UNLESS ORDERED BY
                                                                                                                        THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES                                                        NO
If yes, state description of document to be entered on docket sheet:                                                    DA TED: Brooklyn
                                                                                                                                5/06/2016




                                                                                                                        RECEIVED IN CLERK'S OFFICE.....;;5;..;....;/0;;...;:6.:....::/2~0..;;..;16;;..___ _ _ _ __
                                                                                                                                                                                            DATE
MANDATORY CERTIFICATION OF SERVICE:
A.)..!!._ A copy of this application either has been or will be promptly served upon all parties to this action, B.) _Service is excused by 31 U.S.C. 3730(b), or by
the following other statute or regulation:        · or C.) __{_This isiJ:;~document submitted, and flight public safety, or security are significant concerns.
(Check one)                                                                                            'f pr~ J-v\
                                            510612016
                                                DATE                                                        SIGNATURE
